Case 1:20-cv-00298-MSM-PAS Document 7 Filed 08/18/20 Page 1 of 5 PageID #: 19
Case 1:20-cv-00298-MSM-PAS Document 7 Filed 08/18/20 Page 2 of 5 PageID #: 20
Case 1:20-cv-00298-MSM-PAS Document 7 Filed 08/18/20 Page 3 of 5 PageID #: 21
Case 1:20-cv-00298-MSM-PAS Document 7 Filed 08/18/20 Page 4 of 5 PageID #: 22
Case 1:20-cv-00298-MSM-PAS Document 7 Filed 08/18/20 Page 5 of 5 PageID #: 23
